         Case 8:07-cr-00534-JSM-E_J Document 68 Filed 06/02/08 Page 1 of 9 PageID 176
A 0 245B (Rev 06/05) Sheet I - Jud,ment m a C r ~ m ~ nCase
                                                       al


                             UNITED STATES DISTRICT COURT
                                                   M I D D L E DISTRICT OF F L O R ~ D A
                                                             T A M P A Dn'lSlON




UNITED STiITES OF AbElUCi\                                      JUDGRlIENT LN A CRMXNA3L CASE

                                                                CASE NUMBER: 8:07-cr-534-T-30EAJ
                                                                USA4 N U M B E R : 39804-018
VS.




J U A N M A N U E L ROMERO
                                                                Defendant's Ahorney: I-loward Anderson, pda.

THE DEFENDANT:

X pleaded guilty to count(s) ONE of the N D I C T h l E N T .
-
- pleaded nolo conrendere to count(s) u h c h was accepted by the court
- was foundguilty on count(s) after a plea of not guilty.
TITLE & SECTION                      NATURE OF OFFENSE                            OFFENSE ENDED                      coum
21 U.S.C, 9 s 816 and                Conspiracy to Possess with lnrent ro         December 4,2007                      One
841 (b)( l)(A)(ii)                   Disrribute 5 Kilograms or More of
                                     Cocaine



        The defendant is sentenced a s provided in pages 2 through 6 of this judgmen t. The senlence 1s mposed pursuant lo h e Sen~encing
Reform Act of 1984.

- The defendam has been round not guilty on count(s)
X Count(s) TWO of the indictment is dismissed on rhe motton ofthe Unired States.
-
IT [S FURTHER ORDERED [bar rhe defendant must notify rhe Uaited States Attorney for this dishict within 30 days of any change of
name, residence, or mailing address until all fmes. restitution, costs. and special assessments imposed by this judgment are h l l y paid.
If ordered to pay restitution: the defendant must notify the court and Umred Stales Attorney of any marenal change in econormc
circunxirances.


                                                                                  Date o f Imposition o f Sentence: May 29, 2008
         Case 8:07-cr-00534-JSM-E_J Document 68 Filed 06/02/08 Page 2 of 9 PageID 177
A 0 245B (REV 06/05]Sheet 2 - tmprisonment (Judgment in a Criminal Case)
Defendant:          JUAN MANUEL ROMERO                                                                           J ud,me nt - Page 2 of 6
Case No.:           8:07-cr-SM-T-30EAJ




        After considering the advisory sentencing guidehes and all of the factors identified in 'l'i tlc 18 U.S.C. §§
3553(a)(l)-(71,the court finds that the sentence imposed is sufficicn t, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of SEVENTY (70) MONTHS as to Count One of the Indictment.




-The court makes the lollowing recommendations to the Bureau of Prisons:



-
X The defendant i s rananded tothe custody of tbe U n i t d St~tpsMmhal.
_The defendant &dlslrrrendw to he United States M d a I for this disaict.

         -at-&rnJp.m. on --
         -as notifiedby h e Unitd States Marshal.
-The   defendant shall sumnder for service o f sentence nt the inslitdon designated by thc D u rcnu o 1' P rl sons

         -before 2 p.m. on -.
         - notifiedby the Uni& States Manhal.
               BS
         - as notified by the Probation or Pretrial Savim Oflice.




          1 have executed this judgment as follows:




          Defendant delivered on                                             to
- at                                                                   .with a c a t i f i d copy of this judgment.
                                                                                  United States Marshal

                                                                        By.
                                                                                             Deputy United States Marshal
           Case 8:07-cr-00534-JSM-E_J Document 68 Filed 06/02/08 Page 3 of 9 PageID 178
A 0 7455 (Rcr-, trb 0 5 ) S h ~ 3t - Supcn i s d Rel~rlse(Judgment in a Criminal Case)

Defendant:          JUAN MANUEL ROMERO
Case No.:           8:07-cr-533-T-30EA.J
                                                          SUPERVISED RELEASE

        Upon release from imprisonmcnt, the defendant shall be on supervised rcleasc for a tcrm of FIVE (5)Y E i l R S a s t o Count
One of the Indictment.


the cusr




                                            S ' I ' N V D I U W CONDITIONS OF SUPERVISION
      Case 8:07-cr-00534-JSM-E_J Document 68 Filed 06/02/08 Page 4 of 9 PageID 179
AQ 245B (Rev. 06/05]Shee~3C   - Supeniscd Release (Judgment in a Criminal Caw)
Defendant:       JUAN MANUEL ROMERO                                                                  Judgment - P a g e L o f L
Case No,:        E:07-cr-534-T-30EAJ
                                      SPEC i AL CONDITIONS OF SUPERVISION

        The defendant shall also mmply with the following additional conditions of superviscd re leasc:

        Should the defendant be deported, hdshe shall not be allowed to re-enter the Urnled States uiivittmut the express permmion of
        the appropriategovernmental authority,

        The defendant shall cooperate in the collection of DNA as directed by the probation officcr
        Themandatorydrugtestingprovisionsshallapplyp~ttotbeViolentCrimeControlAct TheCourtorders random drug
        testing not to exceed 104 tests per year.
        Case 8:07-cr-00534-JSM-E_J Document 68 Filed 06/02/08 Page 5 of 9 PageID 180
A 0 245B (Rev 06/05) Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)
Defendant:         JUAN MANUEL ROMERO                                                                 Judgment - Page 5 of 5
Case No.:          8:M-cr-534-T-30EA.J

                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Asscssmen t                            Fine                      'foPal liestituiion


         Totals:                                                   Waived


         The determination of restitution is deferred         -.            An Amended Judgment in a Criminal Care (A0 245C)wdl
         be entered after such determination.
         The defadmt must make restitution (including community restitution) to the following payees in the amount listed
         below.
         K the defendant
         ~ q e oth-se
                    d
                           pw  a p e a ! payment, each payee shall receive an
                            m tiy pgonty order or percentage pa ent col-=w.
                                                                                           ximately proportioned payment, unless
                                                                                              However, gursuaut to 18 U.S.C. 8
          664(1),all non-fcdml ncmas must be pad before the G t e d States.


Name of Pavee                                  Total Loss*                  Restitution Ordered                 Priority or Percenrage




          Restitu~ionamounl ordered pursuanl to plea agreemtnl S
          The defendant must ay interest on a fine or restitution af more than $2,500. unless the restitution or h e is paid in full
                              !
          before the fifteenth ay after the date of the judgment, pursuant to 18 U.S.C. # 36 12(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default. pursuant to 18 U.S.C.$ 3612(g).
          The c o w determined that the defendant does not have the ability to pay interest and it is ordered that:
                   rhe interest requirement is waived for the - fme - restitution.
                   ihe interest requirement for the - fine - restitution is modified as follows:


*Findings for the total amount of lossesare required under Chapters 109A. 110,11OA, and 113A of Title 18 for the offensescommitted
on or afterSeptember 13, 1994, but before April 23, 1996.
        Case 8:07-cr-00534-JSM-E_J Document 68 Filed 06/02/08 Page 6 of 9 PageID 181
A 0 2458 (Rev 06/05) Shm 6 - Schedule o f Payments (Judgment in a Criminal Case)

Defendant:        JUAN MANUEL ROMERO                                                                  Judgment - Page 6of 6
Case No.:          8:07%r-534-T30EAJ


                                                  SCHEDULE OF PAYMENTS



Waving assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X         Lump sum payment of $ 100.00 due immgdiately, balance due
                            -not later than     ,or
                            -in accordance -C, - D, - E or -F below; or
                  Payment to begin immediately (may be combined with -C, -D, or -F below); or
                  Payment in equal           (e-g., weekly, monthly,quarterly) installments of $                            over a period
                  of -(e-g., months or years), to commence            days (e.g., 30 or 60 days)-e                           date of this
                  judgment; or
                  Payment in equal                 (e-g, weekly, monthly, quarterly) installments of $                   over a period of
                                  ,(e.g., months or years) to commence                    (e.g. 30 or 60
                                                                                                       e-r                  release from
                  hnprisonment to a term of supervision; or
                  Payment during the term of supervised release will commence witbin                (e.g., 30 or 60 days)
                  after mlase from imprisonment. The c o w will set the payment plan based on an assessment of the
                  defendant's ability to pay at that time, or
F-       A
                   Special instruct ions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherw~se,if tlus judgment unposes mprisonment, payment of crirmnal monetary
 endties is due during un risoment. All criminal monetary penalties, except those ayments made through the Federal
                              6
bureau of Prisons' Inmate inancia1 Responsibility Pro-       are made to the clerk of e court.   i
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amounr, Joint and
S e v d Amount, and corresponding payee, if appropriate:


         The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-
X        The defendant shall forfeit the defendant's interest in the following property to the United States:
       The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
         os portions thereof, sub'ect to forfeiture, which are in the ssession or control of the defendant or the defendant's
propopexty,
nommees, specificall a 2003 h u g e Rover VIN # S A L M E ~ ~ ~ % A ~ ~and         W S$94,020.
                                                                                        O,        The Court makes final the
prdimhy order of kbiture [Dkt. 591 and makg it a part of this judgment.
Payments shall be applied in the foltawin order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) Line pnnclpal. (5)
finc in-                                 8
           (6) community restitution. penalties, and (8) cosls, including cost ofpmsesutirm and unn costs.
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


   UNITED STATES OF AMERICA,

          Plaintiff,

   v.                                        :   Case No. 8:07-cr-534-T-30EAJ

   JUAN MANUEL ROMERO,

          Defendant.



                          PRELIMINARY ORDER OF FORFEITURE

         THIS CAUSE comes before the Court upon the filing of the Motion (Dkt. #57) of the

   United States of America for Entry of a Preliminary Order of Forfeiture, which shall be a

   final order of forfeiture as to defendant Juan Manuel Romero's right, title, and interest in

   $94,020.00 in United States currency.

          Being fully advised in the premises, the Court finds that the Un~tedStates has

   established the nexus between the crime of conviction and the $94,020.00 in United States

   currency; and

          WHEREAS, by virtue of the defendant's plea agreement, the United States is now

   entitled to possession of the currency listed above pursuant to 21 U.S.C. § 853(a), and

   Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure;

          It is hereby ORDERED, ADJUDGED, and DECREED:

          1.      The Motion (Dkt. #57) of the United States of America for Entry of a

   Preliminary Order of Forfeiture is GRANTED;
Case 8:07-cr-00534-JSM-E_J Document 68 Filed 06/02/08 Page 8 of 9 PageID 183




         2.     That all right, title and interest of defendant Juan Manuel Romero in the

  above-listed currency are hereby condemned and forfeited to the United States for

  disposition in accordance with the law, subject to the provisions of 21 U.S.C. § 853;

         3.     That, following the entry of an order of forfeiture, the United States shall

  publish notice of the order and of its intent to dispose of the forfeited asset in such a

  manner as the Attorney General may direct. The United States may also, to the extent

  practicabte, provide direct written notice to any person known to have alleged an interest

  in the above-described asset, that is the subject of this Preliminary Order of Forfeiture, as

  a substitute for published notice as to those persons so notified;

         4.     That the Court retains jurisdiction to enter any orders necessary for the

  forfeiture and disposition of the subject property, and to address any third party petitions

  that may be filed in the ancillary proceedings;

         5.     That any person, other than Juan Manuel Romero, who has or claims a legal

  interest in the above-described property shall file a petition with this Court for a hearing to

  adjudicate the validity of his alleged interest in the forfeited asset. The petition shall be

  mailed to the Clerk of the United States District Court, Sam Gibbons Federal Courthouse,

  801 North Florida Avenue, 2ndFloor, Tampa, Florida 33602, within thirty (30) days of the

  final publication of notice or of receipt of actual notice, whichever is earlier;

         6.     That the petition must be signed by the petitioner under penalty of perjury,

  and shall set forth the nature and extent of the petitioner's right, title or interest in the

  forfeited asset, the time and circumstances of the petitioner's acquisition of the right, title

  or interest in the forfeited asset, and any additional facts surrounding the petitioner's ctaim

  and the relief sought;
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                7.          That, after receipt of the petition by the Court, the Court will set a hearing to

   determine the validity of the petitioner's alleged ~nterestin the forfeited asset; and

                8.          That, upon adjudication of all third-party interests in the above-described

   assets, this Court will enter a Final Order of Forfeiture, pursuant to 21 U.S.C.
                                                                                  § 853 and

   Fed. R. Crim. P. 32,2(c)(2), in which all interests will be addressed.

                DONE and ORDERED in Tampa, Florida on May 5 , 2008.




   All CounseUParties of Record
    F : ~ 0 0 7 1 0 7 ~ - 5 3 4 . f a f e i t u !5'
                                                r%.wpd
